                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 AT NASHVILLE


JOSHUA GARTON,                            §
                                          §
        Plaintiff,                        §         Case No. 3:21-cv-00338
                                          §
v.                                        §         JURY DEMANDED
                                          §
W. RAY CROUCH, et al.,                    §
                                          §
        Defendants.                       §


     PLAINTIFF’S MOTION TO STRIKE DEFENDANT CROUCH’S UNTIMELY
                           REPLY [Doc. #57]


        On September 23, 2021, Defendant Crouch filed an untimely Reply [Doc. #57] to

the Plaintiff’s September 10, 2021 Response [Doc. #55]. Replies, of course, are due for

filing “within seven (7) days after service of the response[.]” See Local Rule 7.01(a)(4).

Nor did Defendant Crouch seek leave to file an untimely Reply. But see Local Rule 6.01.

        Unfortunately, this is not Defendant Crouch’s first effort to needlessly complicate

and interfere with the efficiency of these proceedings. Compare Doc. #38, p. 2 (noting

that Plaintiff’s motion for leave to file an amended complaint was necessary only because

“[c]ounsel for Defendant Crouch, however—Ms. Mary McCullohs—has indicated to

Plaintiff’s counsel that Defendant Crouch ‘opposes the filing of your amended complaint

primarily because the proposed amendments do not cure jurisdictional deficiencies.’”),

with Doc. #44 (noting, thereafter, that “no timely opposition” was filed and granting

leave). Accordingly, to encourage future compliance with this Court’s Rules, the Plaintiff

respectfully moves this Court to strike Defendant Crouch’s untimely filing.



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                                        Respectfully submitted,

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                            CERTIFICATE OF SERVICE

       I hereby certify that on this 23rd day of September, 2021, a copy of the foregoing
was transmitted via CM/ECF to:

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